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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISIO N

 PAULA PEREZ ,

         Plaintiff.

 V.                                                        CASE NO . :

 THE FINISH LINE, INC .,
 a Foreign corporation ,

         Defendant.


                       THE FINISH LINE, INC .'S NOTICE OF REMOVA L

         Defendant , THE FINISH LINE, INC . ("Defendant"), submits this Notice of Remova l

 under 28 U .S.C . § 1446 . As grounds, Defendant states :

         1 . 28 U .S .C . § 1441(a)-(b) provides in relevant part that any action over which this

 Court has original jurisdiction may be removed and that, when no federal question is present . an

 action is removable if none of the defendants is a citizen of the state in which the action is

 brought . Specifically, 28 U .S .C . § 1441(a)-(b) states :

                 Except as otherwise expressly provided by Act of Congress, any civil action
                 brought in a State court of which the district courts of the United States have
                 original jurisdiction, may be removed by the defendant or the defendants . to the
                 district court of the United States for the district and division embracing the place
                 where such action is pending . 28 U .S.C . § 1441(a) .

                 Any civil action of which the district courts have original jurisdiction founded on
                 a claim or right arising under the Constitution , treaties or laws of the United
                 States shall be removable without regard to the citizenship or residence of the
                 parties . Any other action shall be removable only if none of the parties in interest
                 properly joined and served as defendants is a citizen of the State in which such
                 action is bro ught. 28 U.S .C . § 1441(b) .

         2 . 28 U .S .C . § 1332( a)(2) provides in relevant part :


                                                                                                         n
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                                                                                            CASE NO :


                The district courts shall have original jurisdiction of all civil actions where the
                matter in controversy exceeds the sum or value of $75,000, exclusive of interest
                and costs, and is between-

                        (2) citizens of a State and citizens or subjects of a foreign state ; . . . .

                 (italics added )




        3 . 28 U .S .C . § 1332( c)(1) provides in relevant pa rt :

                    For the purposes of this section and section 1441 of this titl e

                a corporation shall be deemed to be a citizen of any State by which it has been
                incorporated and the State where it has its principal place of business . . . .




        4 . Plaintiff, PAULA PEREZ (" Plaintiff'), instituted this action in the Eleventh

Judicial Circuit in and for Miami - Dade County , Florida on November 18, 2005 (Case No . 05-

22722 CA 20) . In her complaint , Plaintiff alleged that Defendant violated Fla . Stat . § 540 .08 by

publishing her image in adve rt ising media other than those agreed to by the parties. Regarding

damages, Plaintiff alleged only that they exceeded the state circuit cou rt' s minimum

jurisdictional amount of $15,000 .00 . True and correct copies of all process and pleadings served

in this action are incorporated by reference as Composite Exhibit "A" . '

        5 . This cou rt has jurisdiction over this matter under 28 U .S .C . § 1332 because

diversity of citizenship exists between the pa rties and the amount in controversy exceeds the sum

or value of $ 75,000 .00, exclusive of interest and costs .




        ' Because of the voluminous nature of the exhibits incorporated and referenced in
this notice, each incorporated exhibit has been separately filed . Additionally, Composite Exhibit
"A" includes copies all documents served and filed in the circuit court, except for copies of
discovery material . See S .D. Fla. L . R . 26 .1(B) .
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                                                                                     CASE NO :


        6. Because this Notice of Removal is filed within thirty (30) days of Defendant's

 receipt of an "other paper" -- specifically, the May 8, 2006 deposition of the Plaintiff revealing

 the actual amount in controversy -- it is timely under 28 U .S.C. § 1446(b) . Specifically, at her

 deposition, Plaintiff testified that she was entitled to compensation in excess of $250,000 .00 for

 Defendant's unauthorized use of her image, which established that the amount in controversy

 exceeds $75,000 .00 . See relevant excerpts of Plaintiffs deposition and exhibit . incorporated by

 reference as Composite Exhibit "B" (Nos . 4, 5) . Upon taking the Plaintiffs deposition,

 Defendant ascertained for the first time that this Court indeed had jurisdiction over the case and

 that the case could properly be removed from state court .

        7.      DIVERSITY OF CITIZENSHIP . Plaintiff is, and was at the institution of this

civil action, a citizen of Spain and an alien temporarily residing in the United States pursuant to a

 work visa of three years duration . See Composite Exh . "B" at No . 1, pp. 11 - 16, 29 - 30, and

 corresponding exhibits (Nos . 2 and 3) .

        8 . Defendant is, and was at the time of the institution of this civil action, a

corporation organized and existing under and by virtue of the laws of the State of Indiana, having

 its principal place of business in the State of Indiana . See State of Florida corporate documents,

 incorporated by reference as Composite Exhibit "C" ; see also Composite Exh . "A" . Compl . at ¶

 3 (" . . . Defendant was and is a foreign corporation licensed to and doing business in Miami-

 Dade County, Florida") .

        9. Thus, diversity of citizenship exists between the parties .         See Foy v. Schantz,

Schatzman & Aaronson, P.A, 108 F .3d 1347 (1 1 th Cir. 1997) ; see also In re Air Crash Disaste r




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                                                                                       CASE NO :


 Of Avialeca Flight 901 Near San Salvador, El Salvador On Aug . 9, 1995, 29 F . Supp . 2d 1333,

 1351 (S .D . Fla. 1997) .2

         10.     AMOUNT-IN-CONTROVERSY EXCEEDS $75,000 .00 . The amount-in-

 controversy requirement clearly is satisfied in this case . As established for the first time in the

 Plaintiffs May 8, 2006 deposition, Plaintiff claims she is entitled to compensation for

 Defendant's alleged improper usage in the amount of at least $250,000.00, in addition to

 unspecified royalties . See Composite Exh . B, No. 4 at pp . 68 - 81, and corresponding exhibit

 (No . 5) ; see also Plaintiff's Response to Defendant's First Set of Interrogatories, at pp. 3, 6

 (Interrogatory Nos . 4, 9), incorporated by reference as Exhibit "D" .

         11 . Accordingly, the preponderance of the evidence demonstrates that the amount in

 controversy exceeds $75,000 .00, exclusive of interest and costs .       See, e .g., Tapscott v. ;VI S.

 Dealer Serv . Corp., 77 F .3d 1353, 1359 (11th Cir. 1996) (removing party need show only by a

 preponderance of the evidence that the amount in controversy exceeds jurisdictional limits),

 abrogated on other grounds, Cohen v . Office Depot, Inc., 204 F.3d 1069 (1 1 th Cir . 2000) .

         12 .    REMOVAL IS TIMELY . As set forth above, this notice of removal is filed

 within thirty (30) days of receipt by the Defendant of an "other paper from which it may first be

 ascertained that the case is one which is or has become removable . . . ." 28 U .S .C . § 1446(b) .

         13 . Where the initial complaint states merely that the desired damages meet the

jurisdictional requirements of the state court, the case is not yet removable to federal court . See

 Essenson v. Coale, 848 F . Supp . 987, 988-89 (M .D . Fla . 1994) . Such was the case here, since

 Plaintiff's Complaint alleges simply that "[tjhis is an action for compensatory and punitiv e



         2       Even if Plaintiff was deemed to be a Florida citizen as a resident alien domiciled
 in the state, complete diversity still would exist because Defendant is an Indiana corporation .
 See 28 U .S.C. § 1332 ( a) (1) .


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                                                                                        CASE NO :


 damages in excess of the jurisdictional limits of this court ." See Composite Exh . "A" . Compl . at

 ¶ 1 . Defendant therefore lacked the ability to remove the case to this Court upon receiving the

 Complaint .

          14 . A case not initially removable may later become removable if a defendant

 receives by some "other paper" that the federal jurisdictional requirements are met, at which time

 the defendant has 30 days to remove the case to federal court . See Essenson . 848 F . Supp. at

 987 : see also Pease v . Medtronic, Inc ., 6 F. Supp . 2d 1354 (S .D . Fla. 1998) . A deposition has

 been recognized as "other paper" for purposes of the removal statute . See Haber v . Chrysler

 Corp ., 958 F . Supp . 321, 326 (E .D. Mich . 1997) (multiple citations omitted) ; see also Huffman v.

 Saul Holdings LP, 194 F .3d 1072 . 1078 (10th Cir . 1999) (removal period commences with

 giving of testimony) ; Brooks v. Solomon Co ., 542 F . Supp . 1229, 1230 (N.D. Ala. 1982)

 (plaintiffs deposition qualified as "other paper" establishing basis for removal) ; A'Iendez v . Cent .

 Garden & Pet Co ., 307 F . Supp . 2d 1215, 1222 (M .D. Ala . 2003) (same) .

          15 . Accordingly, because Defendant files this Notice of Removal within 30 days of

 the Plaintiff's May 8, 2006 deposition, Defendant has met the prerequisites for removal under 28

 U .S .C . § 1446(b) .

          16 . The prerequisites for removal under 28 U .S .C . § 1441 have also been met .

          17 . This case is being removed to the United States District Court for the Southern

 District of Florida, Miami Division, because this district encompasses the state court from which

 this case is being removed, that being the Eleventh Judicial Circuit Court in and for Miami-Dade

 County, Florida . See 28 U.S .C . § 89(b) .




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                                                                                   CASE NO:


        18. If any questions arise as to the propriety of the removal of this action, Defendant

requests the opportunity to present a brief and oral argument in support of its position that the

case is removable .

       WHEREFORE, the Defendant, desiring to remove this case to the United State District

Court for the Southern District of Florida, prays that the filing of this Notice of Removal with

this Court and the filing the Notice of Removal with the Clerk of the Eleventh Judicial Circuit in

and for Miami-Dade County, Florida shall effect the removal of this case .

                                CERTIFICATE OF SERVIC E

       I HEREBY CERTIFY that a true copy of the foregoing has been furnished by U .S . Mail

this 26th day of May, 2006 to : Peter M . Capua, Esq ., Lorenzo & Capua, Courthouse Plaza, 1 1 th

Floor, 28 West Flagler Street, Miami . FL 33130, Fax : 305-374-4058 .

                                             GORDON HARGROVE & JAMES . P .A .
                                             Attorneys for The Finish Line, Inc .
                                             2400 East Commercial Boulevard
                                             Suite 110 0
                                             Fort Lauderdale, FL 33308
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v.,JS44 (Rev 11/05 )                                                    CIVIL COVER SHEE T
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings or other papers as required by law, except as provided
by local rules of court. This fonts, approved by the Judicial Conference o the United States in Seotember 1974 . is i eauired for the use of the Clerk of Court for the uuipose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM .) NOTICE :                         torne,,ys MUST I4dicate All Re-filed Cases BeloA .

1. (a) PLAINTIFFS                                                                                    D NDAN'ff

              PAULA PERE Z                                                                             THE FINISH LINE , INC ., a Foreign Corporatio n

      (b) (ounty of Residence of First Listed Plaintif f           Miami-Dad e                       Count y_ of Residence of First Listed Defendant      n /a
                               (EXCEPT IN U .S. PLAINTIFF CASES )                                                              (IIJ~ . ,PLAINTIFF CASES ONLY )

(C)     Attorney's (Finn Name, Address, and Telephone Number )                                              NOTE : IN LAND C'ONb EMNATION CASES , USE THE LOCATION OF THE TRACT

         Peter M . Capua , Esq . (305 ) 374-651 8                                                                     LAND INVOLVED

         Lorenzo A Capua, P .A .
                                                                                                                 D na J . McElroy, Esq .
                                                                                                      Attonseys(IfKt~s+(n
         Courthouse Plaza, 11t h Floor
                                                                                                      C~V W        rdon Hargrove a James,, P .A .
         Miami , FL 3313 0
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(d) Check County Where Action Arose :        IJMIAMI - DADE 7 MONROE 1 BROWARD O PALM BEACH D MARTIN 1 ST. LUCIE lr fAdnDrN RIVA O - EECHOBE E
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        Defendant                                                                                                                                of Business jtiy o' er Stag
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IV . NATURE OF SUIT                  ( Place an "X" in One Box Only)
           CONTRACT                                          TORTS                             FORFEITURE/PENALTY                      BANKRUPTCY                     OTHER STATUTE S

O 110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY       O 610 Agriculture                  O 422 Appeal 2S USC 158         7 400 State Reapportionment
O 120 Marine                       O 310 Airplane                   O 362 Personal Injury -  0 620 Otter Food & Drug            / 4'23 Withdrawal               1 410 Antitrus t
O 130 Miller Act                   O 315 Airplane Product                  Med . Malpractice 0 625 Drug Related Seizure                28 USC 157               7 430 Banks and Bankin g
1 140 Negotiable Instrument              Liability                  0 365 Personal Injury -         of Property 21 USC 881                                      7 450 Commerc e
0 150 Recovery of Overpayment      7 320 Assault . Libel &                 Product Liability 1 630 Liquor Laws                     PROPERTY RIGHTS              1 460 Deportation
      & Enforcement of Judgment          Slander                    1 368 Asbestos Personal  1 640 R .R . & Truck               O 820 Copyrights                7 470 Racketeer Influenced and
O 151 Medicare Act                 0 330 Federal Employers'                Injury Product    1 65D Airline Recs .               0 830 Patent                           Corrupt Organization s
l 152 Recover, of Defaulted              Liability                         Liability         1 660 Occupational                 O 840 Trademark                 7 480 Consumer Credit
      Student Loans                O 340 Marine                      PERSONAL PROPERTY              Safety/Health                                               0 490 Cable/Sat TV
      (Excl . Veterans)            1 345 Marine Product             1 370 Other Fraud        0 690 Other                                                        O 810 Selective Servic e
1 153 Recovery ofOverpayment             Liability                  1 371 Truth in Lending  L            LABOR -                   SOCIAL           Ri Y        O 850 Securities/ComtnoditiesJ
       of Veteran's Benefits       1 350 Motor Vehicle              1 380 Otter Personal     O 710 Fair Labor Standards         1 861 HIA (1395ff)                     Exchang e
1 160 Stockholders' Suits          7 355 Motor Vehicle                     Property Damage          Act                         1 862 Black Lung (923)          D 875 Customer Challeng e
1 190 Other Contract                     Product Liability          Q 385 Property Damage    0 720 Labor/Mgtnt . Relations      3 863 DIWC/DIWW (405(8))                12 USC 341 0
1 195 Contract Product Liability   O 360 Otter Personal                    Product Liability 0 730 Labor/Mgmt.Reporting         0 864 SSID Title XVI                890 Other Statutory Action s
1 196 Franchise                          Iniu                                                       & Disclosure Act            1 865 RSI (405(g))              O 891 Agricultural Acts
     REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS O 740 Railway Labor Act                    FEDERAL TAX SUITS            0 892 Economic Stabilization Ac t
1 210 Land Condenmation            O 441 Voting                     O 510 Motions to Vacate 0 790 Other Labor Litigation        O 870 Taxes (U .S . Plaintiff   O 893 Environmental Matters
0 220 Foreclosure                  O 442 Employment                        Sentence          O 791 Empl . Rel . Inc .                 or Defendant)             O 894 Energy Allocation Act
1 230 Rent Lease & Ejectment       Cl 443 Housingi                      Habeas Corpus :             Security Act                O 871 IRS-Third Party           0 895 Freedom of Information
O 240 Torts to Land                      Accommodations             O 530 General                                                     26 USC 7609                      Act
O 245 Tort Product Liability       O 444 Welfare                    1 535 Death Penalty                                                                         _l 900Appeal of Fee Determination
O 290 All Other Real Property      O 445 Amer . w/Disabilities -    1 540 Mandamus & Other                                                                             finder Equal Acces s
                                         Employment                 O 550 Civil Rights                                                                                 to Justic e
                                   1 446 Amer w/Disabilities -      1 555 Prison Condition                                                                      1 950 Constitutionality of
                                         Other                                                                                                                          State Statutes
                                   7 440 Other Civil Rights


V . ORIGIN (Place an "X" in One Box Only)                                                                                                                                  Appeal to District
                                                                                                                 Transferred fro m                                   j ,fudge from
   I Original X 2 Removed from '1 3 Re-filed-                                            O 4 Reinstated or 5 another district -1 6 Multidistrict
                                                                                                                                                                              Magistrate
     Proceeding State Court (see VI below )                                                    Reopened          (specify) Litigatio n                                        Judgment

                                                                    a) Re-filed Case O YES CI NO b) Related Cases 71 YES TI N O
VI . RELATED/RE-FILED                       (See instruction s
CASE(S) .                                   second page I : JUDGE                                                                 DOCKET
                                                                                                                                  NUMBER
                                        Cite the U .S . Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless
                                        diversity) :
VII . CAUSE OF                                          28 U .S .C . 1332 ( diversity )
ACTION                                                  Claim for violation of Fla . Stat . 540 .08
                                        LENGTH OF TRIAL t is _ days estimated (for both sides to try entire case )
VIII . REQUESTED IN 0 CHECK IF THIS IS .A CLASS ACTION                                           DEMANDS                                     CHECK YES only ifdentanded in complaint
       COMPLAINT : LINDER F .R .C .P . 2 3                                                                                                   JURY DEMAND : j Yes N o

ABOVE INFORMATION IS TRUE & CORRECT TO                                  SIGNATURE OF ATTORNEY OF RECORD DAT E
THE BEST OF MY KNOWLEDGE
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